Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.41 Filed 12/01/23 Page 1 of 50

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Michael E. Piston*

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Practice in the State of New York limited
to the federal courts and administrative
Agencies

June 2, 2023

USCIS

Nebraska Service Center
850 S Street

Lincoln, NE 68508

Re: Haroutioun Sahac Bastajian’s Form I-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX

RESPONSE TO REQUEST FOR EVIDENCE

Mr. Bastajian replies to the indicated requests as follows:

Documentation to establish that the beneficiary will continue to work in his claimed area
of expertise. :

Enclosed is a letter from the Islamic Association of Greater Detroit confirming that it has
contracted to have Mr. Bastajian execute the interior artwork and serve as a consultant to aid in
all design related aspects of its new expanded mosque, Exhibit B at 1-3, together with a copy of
the contract pertaining to those services, Exhibit B at 4-6. Note that the total fee payable to Mr.
Bastajian's company is well over $200,000.

Enclosed also please find a copy of Mr. Bastajian’s company’s invoice to the Islamic Center of
America for over $75,000 of mosque decoration work. Exhibit B at 7-9.
Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.42 Filed 12/01/23 Page 2 of 50

MICHAEL E. PISTON, ATTORNEY AT LAW

To: USCIS

RE: Haroutioun Sahac Bastajian’s Form I-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX

Dated: June 5, 2023

Published material about the alien in professional or major trade publications or other major
media, relating to the alien's work in the field for which classification is sought

Interview of Harout Bastajian by Rania Barghout on October 18, 2015, at MBC (Middle
East Broadcasting Center) Studios, for the TV show “Talk of the Town”. Interview first
broadcasted on the show on the same day, then uploaded to MBC’s official website
(http://www.mbc net/channels/mbcl )before it was archived, currently found on
https://www.facebook.com/watch/?y=569005964 182591 &ref=sharing. An Arabic language
transcript and certified English language translation are enclosed. Exhibit B at 10-15.

Television broadcast constitutes “published material” in as much as the ordinary
meaning of the word “publish” is “to make known to another or to the public generally” ...
Merriam-Webster, http://www.merriamwebster.com/dictionary/publish (last visited Aug. 2,
2016) (defining "publish"). Kirvard E. Div., Inc. v. Antero Res. Corp., No. 2:15-cv-633, 2016
USS. Dist. LEXIS 196184, at *23-24 (S.D. Ohio Aug. 9, 2016). It is by-lined because the
interviewer’s name appears both verbally and in writing (in Arabic) in the broadcast. Exhibit B
at 10.

Where a statutory term “is not defined in the statute, ... ‘we give the term its ordinary
meaning.’” Encino Motorcars, LLC v. Navarro, 138 S. Ct. 1134, 1140 (2018), quoting .
’ Taniguchi v. Kan Pacific Saipan, Ltd., 566 U.S. 560, 566 (2012). It is appropriate to look to
dictionaries to determine words ordinary meanings. See, e.g. Matter of M--- F---W, 241. &N.
Dec. 633, 636, nt.4 (B.A. October 6, 2008), Matter of Rojas, 23 I & N Dec. 117, 133 (BIA
2011) (relies upon Webster’s dictionary for ordinary meaning of terms), United States v. TRW
Rifle 7.62x51mm Caliber, 447 F.3d 686, 689 (9th Cir. 2006) (“Congress did not define what it
meant by ‘readily’ or ‘restored’ in § 5845(b); "thus, we follow the common practice of
consulting dictionary definitions to clarify their ordinary meaning[]”).

Further, and in any event, it is well accepted by no less an authority than the U.S. Supreme Court
that posting a video online constitutes its publication. “When North Carolina published some of

Allen's videos and photos online, Allen sued for copyright infringement”. Allen v. Cooper, 140
S. Ct. 994, 997 (2020) .

So does the Sixth Circuit Court of Appeals, the court of appeals with jurisdiction over the
plaintiffs residence: “Carpenter is a creator and leader of ATP, which publishes newsletters
and videos documenting ISIS military successes and celebrating the "coming fall and collapse of

the American empire.” United States v. Carpenter, No. 22-5933, 2023 U.S. App. LEXIS 2386, at

*7 (6th Cir. Jan. 30, 2023). In fact, the 8" Circuit Court of Appeals, with jurisdiction over the
state of Nebraska, considers any playing of a video, including one containing an interview, its
publication: “During her testimony, over Counts's objection, the government introduced

the video recording of Fries's forensic interview with M.D. The recording was published to the
jury.” United States v. Counts, 39 F.4th 539, 542 (8th Cir. 2022). See also Allen sues Defendants

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.43 Filed 12/01/23 Page 3 of 50

MICHAEL E. PISTON, ATTORNEY AT LAW

To: USCIS

RE: Haroutioun Sahac Bastajian’s Form I-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX

Dated: June 5, 2023

for defamation arising out of TRT World's July 15, 2019 broadcast of a television program titled
"A Night of Defiance: Interview with Mary Addi" (hereinafter, "the Broadcast"). Compl. §f 6,
22; Ansr. J] 6, 22. A copy of the broadcast was also published on YouTube.4See also Allen v.
Addi, Civil Action No. 20-cv-01650 (TSC), 2021 U.S. Dist. LEXIS 180476, at *3 (D.D.C. Sep.
22, 2021). (“According to Allen, ‘TRT World has millions of viewers and as of 7/13/2020, TRT
World has around 892,000 subscribers on YouTube.’ Compl. § 30. Allen sues Defendants for
defamation arising out of TRT World's July 15, 2019 broadcast of a television program titled "A
Night of Defiance: Interview with Mary Addi" (hereinafter, "the Broadcast"). Compl. §§ 6, 22;
Ansr. {{ 6, 22. A copy of the broadcast was also published on YouTube.4See id. According to
Allen, "TRT World has millions of viewers and as of 7/13/2020, TRT World has around 892,000
subscribers on YouTube." Compl. { 30.).

Further, according to Allied Media Corp.:

Ten Year Pioneer, MBC is the leading free-to-air, pan-Arab, news and entertainment
channel. MBC's guiding philosophy has always been to lead and innovate. Satellite
transmission first started from London in September 1991, making MBC the first-ever,
independent Arabic satellite TV station and a market leader, delivering news and quality,
family entertainment programming to more than 130 million Arabic speaking people
around the world. MBC has recently moved its headquarters to Dubai Media City,
enabling the whole production process to be closer to its Arab viewers. The centre has
been described as one of the new wonders of the satellite transmission world.

Exhibit B at 16-17.

Accordingly, MBC certainly qualifies as “major media”. Therefore the record shows that
Mr. Bastajian was the subject of a by-lined publication by a major media source.

Evidence of the display of the alien's work in the field at artistic exhibitions or showcases.

We have enclosed another letter from Dr. Abouali affirming “that Mr.
Bastajian’s art is displayed in a manner consistent with, and for the purpose
of, artistic exhibitions”, Exhibit B at 18, together with pictures of his work as
displayed. Exhibit B at 19-22. Please note that the Arabic language script
contained in the photographs are included as examples of the art of
calligraphy and not to convey information. Thus no translation is required.

Evidence that the alien has performed in a leading or critical role for organizations or
establishments that have a distinguished reputation.

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.44 Filed 12/01/23 Page 4 of 50

MICHAEL E. PISTON, ATTORNEY AT LAW

To: USCIS

RE: Haroutioun Sahac Bastajian’s Form I-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX

Dated: June 5, 2023

Enclosed is a letter from the Former Chairman of the Executive Board of the Islamic
Center of America, stating that “Harout Bastajian played an unequivocally critical role in
the design, execution and opening of the Islamic Center of America in Dearborn, MI.”
Further, he states that:

Harout's responsibilities were abundant, yet specific. He led the execution of all artwork,
calligraphy and patina in the hallways, prayer rooms, banquet halls, interior doors, walls,
soffits, domes, mezzanine, etc., His leadership included teams of skilled artists, painters,
calligraphers and volunteers. Upon completion of this work, we, the Board of Directors at
the Islamic Center of America, presented to Harout a distinguished honor for which he
shared with only the 4 or 5 leading individuals who were responsible with the completion
of our historic mosque. His plaque hangs in our hall of honor.

Exhibit B at 23.

As noted in the petition, the Islamic Center of America is America’s oldest Shia Mosque and
the largest Muslim Mosque of any denomination in the United States. It was described by the
Detroit News as a “landmark”. That certainly makes it distinct from other mosques in the U.S.,
as well as eminent, and, so, distinguished.!

Nevertheless, we provide herewith a letter from Farid Nasser, MD, Chairman, Board of
Trustees, The Islamic Center of America explaining that:

Over the years, Washington has recognized the Islamic Center of America for its
religious, educational and public programs and as a place of moderate patriotic views and
positive influence on our society here and abroad. Communications and relationship with
the ICA began with President Jimmy Carter's Administration during the hostage crisis
and continued with most White House Administrations thereafter every time issues and
crises erupt in the Middle East.The ICA hosted US Senators, US Presidents’ advisors and
envoys as well as delegations from the German Federal Parliament.

In the past and for a decade, the US State Department and National Defense University
brought yearly over 70 officers delegates from all over the world to the Islamic Center of
America to marvel at the unique architecture and calligraphy and to learn, dialogue and

! We disagree that to be distinguished one must have “eminence, distinction and excellence”. In
fact, the ordinary meaning of the word is “eminence, distinction or excellence”. “Distinguished.”
Merriam-Webster.com Dictionary, Merriam-Webster, https://www.merriam-
webster.com/dictionary/distinguished, Accessed 29 May. 2023 (emphasis added).

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.45 Filed 12/01/23 Page 5 of 50

MICHAEL E. PISTON, ATTORNEY AT LAW
To: USCIS

RE: Haroutioun Sahac Bastajian’s Form I-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX
Dated: June 5, 2023

get their questions answered. In addition, The ICA hosts weekly delegates from schools,
universities, and interfaith from within and outside the State of Michigan, Canada and the
United Kingdom.

Exhibit A at 38.

Certainly this marks the Islamic Center of America as “distinguished”

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Establishing eligibility for the high level of expertise required for the E11 immigrant classification is
based on your possessing sustained national or international acclaim (achieved in the past and

__ maintained up to the present) and achievements that have been recognized in the field of expertise,
indicating that you are one of that small percentage who have risen to the very top of the field
of endeavor.

As indicated in our original petition, “Mr. Bastajian is one of the leading professionals of
a field unique to the Islamic World -the use of Arabic calligraphy to decorate religious
buildings." Hashim al-Tawil. a Tenured Professor and Chair of Art History Department at Henry
Ford College in Dearborn, Michigan.

Mr. Bastajian is a “world renowned artist” in the field of mosque decoration. Diana
Abouali, PhD, Director, Arab American National Museum.

To this we now add the following letters reaffirming that Mr. Bastajian is one of the
small percentage of artists who has risen to the very top of this field:

Ron Amen, Former Chairman, Executive Board Islamic Center of America, Exhibit B at
23 (“Harout Bastajian is the leading mosque decorator in the world”).

Dr. Nadia M. Bazzy, Director Multi-Ethnic Student Affairs, University of Michigan,
Exhibit B at 24 (“one of the world’s most talented artists in his field of mosque decoration, or
arguably the most talented here in the US and abroad”).

Michael Makki Managing Director, Village Private Equity Managing Member, Light
USA and AF Inc, Exhibit B at 25 (“Harout is the best mosque decorator currently residing in the
United States of America.”).

We also refer you to an article from the Arab-American News describing him as the
“Michaelangelo of Mosques”. https://arabamericannews.com/2023/05/25/local-artist-recognized-

Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.46 Filed 12/01/23 Page 6 of 50

MICHAEL E. PISTON, ATTORNEY AT LAW

To: USCIS

RE: Haroutioun Sahac Bastajian’s Form 1-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX

Dated: June 5, 2023

for-his-contribution-to-the-promotion-of-islamic-culture-through-art/ (last accessed June 2,
2023).

Finally, 8 CFR 204.5(h)(3) provides that “A petition for an alien of extraordinary ability
must be accompanied by evidence that the alien has sustained national or international acclaim
and that his or her achievements have been recognized in the field of expertise. Such evidence
shall include evidence of a one-time achievement (that is, a major, international recognized
award), or at least three of the following:”

Therefore each of the criteria listed in 8 CFR 204.5(h)(3) constitutes “acclaim”. In

addition to that previously submitted and mentioned above, we include the following additional
evidence of Mr. Bastajian’s sustained national and international acclaim:

Letter from Dr. Nassib Fawaz, President of the Lebanese International Business Council,
Exhibit B at 26.

Letter from Najah Bazzy Founder & CEO Zaman International - Hope for Humanity
Michiganian of the Year 2020 Crain’s Top 100 Most Influential Women 2021 Michigan
Women’s Hall of Fame 2020 CNN Hero 2019, Exhibit A at 27-28.

Letter from Fr. George Shalhoub, the head priest of St. Mary Antiochian Orthodox
Church in Livonia, Michigan. Exhibit B at 29,

Letter from Ty Safaryan (Owner of Twins Buick GMC.) Exhibit at 30.

Letter from Rabbi Areyah Kaitmann Chabad Columbusxecutive Director, Life Town and
Kitchen of Life. Exhibit at 31.

WXYZ?’ Report, Exhibit A at 32-36.

WXYZ is a“GREAT DETROIT BROADCASTING LEGEND”. Jim Feliciano, Motor City

Radio Flasbacks, “A SALUTE TO A DETROIT RADIO BROADCAST LEGEND: WXYZ-AM
1270”, ASALUTE TO A DETROIT RADIO BROADCAST LEGEND: WXYZ-AM 1270 —
Motor City Radio Flashbacks (mcrfb.com) (last accessed June 5, 2023).

Continued in the footer of the next page.

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.47 Filed 12/01/23 Page 7 of 50

MICHAEL E. PISTON, ATTORNEY AT LAW

To: USCIS

RE: Haroutioun Sahac Bastajian’s Form J-140, petition to be classified as an alien with
extraordinary ability / LIN2290191683 AXXXXXXXX

Dated: June 5, 2023

Certificate of United States Special Senatorial Recognition, Exhibit A at 37.

The evidence of such acclaim submitted herewith covers a period of 2015-2022.
Therefore it constitutes evidence of “sustained” acclaim, and because it comes from such diverse
locations as Lebanon and the United States, it is “international”. Further, according to Merriman-
Webster’s online dictionary the ordinary meaning of acclaim is “praise”, “Acclaim.” Merriam-
Webster.com Dictionary, M -ria im- Web: ot bps Iww. merriam-
webster.com/dictionary/acclaim, Ac (
submitted with the petition covering the same time period. are all highly laudatory of Mr.
Bastajian. Accordingly, the evidence submitted herewith establishes that he is among the small
percentage who have risen to the very top of his field of the decoration of religious buildings and
has achieved sustained international acclaim in that area.

Therefore, it is respectfully requested that he be classified as an alien with extraordinary
ability under Section 203(a)(1)(A) of thé Immigration and Nationality Act.

Thank you for close atteyfon to this important matter.

Attorfey for the Petitioner

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1s the Name of Allah, The Moat Gracious, The Most Merciful

taQ@ islamic Association of Greater Detroit

February 17, 2023
Dear US Citizenship and Immigration Services,

My name is Dr. Ghaus Malik, one of the original founders of the Islamic Association of Greater
Detroit located in Rochester Hills, Michigan. Please let this letter serve as evidence for the
criticality and uniqueness of Mr. Harout Bastajian’s completed, current and future committed
work for our mosque and the multiple communities it serves. Attached you will find a brief
overview of the IAGD and what we represent (see IAGD Values).

We, at the Islamic Association of Greater Detroit (IAGD) have been undergoing an expansion
from. 39,000 to:93,000 square feet since 2018, When completed, our new mosque will be one of
the largest in North America. We have raised many millions to build a mosque that will service
thousands of people in the Greater Detroit area. You can see progress as of December 2022 at
this link: https://www.youtube.com/watch?v=TM0pC0ZnutE and https://iagd.net/expansion/

During our planning stages, we were in dire need of not only a well-established and world-
renowned Islamic Arts Artist, but someone very experienced with a deep understanding of how

large-scale mosques should be designed, constructed and decorated. We could not find such a
person. Fortuitously, after doing some online research arid talking to people in our collective
networks — we were fortunate to be introduced to Mr. Harout Bastajian. We were made aware of
his work executed at the Islamic Center of America in Dearborn, MI and were immediately sold
on Harout’s unique and extraordinary ability to design mosques.

We have contracted Harout to not only execute the interior artwork, but also serve as a
consultant to aid in all design-related aspects of our building, Attached you will find a list of
contracted services and products that we Harout is executing for us (see Harout Scope of Work),

JTAGD — Islamic Association of Greater Detroit
879 West Auburn Road, Rochester Hills, Michigan 48307

Tel: (248) 852-5657 Website: www.iagd.net
Non-Profit Organization IRS (Tax Exempt ID # XX-XXXXXXX)

Exhibit B at 1

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.54 Filed 12/01/23 Page 14 of 50

; Ag Inthe Nome of Allah, The Most Griclous, The Most Merciful

a@ai islamic Association of Greater Detroit

On behalf of the Islamic Association of Greater Detroit and the many concerned stakeholders,
we sincerely petition to the USCIS that Mr. Harout Bastajian be approved of his immigration
request so that there are no further interruptions with the contracted work. Unfortunately, we are
afraid that if Mr. Harout cannot continue this work, we will be unable to find any replacement
within the US or abroad.

If you have any questions or require any additional information — please do not hesitate to
contact me further regardin g this matter of great importance. .

Best Regent

Dr. Ghaus M. Malik <———____

Co-Founder, and Construction Co-ordinator,

Islamic Association of Greater Detroit

ghausmalik1@gmail.com

JIAGD — Islamic Association of Greater Detroit
879 West Aubuin Road, Rochester Hills, Michigan 48307
Tel: (248) 852-5657 Website: www. iagd.net
Non-Profit Organization IRS (Tax Exempt ID # XX-XXXXXXX)

Exhibit B at 2

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.55 Filed 12/01/23 Page 15 of 50

TAGD VALUES

The Islamic Association of Greater Detroit seeks to facilitate and provide spiritual, educational, and social
services to these communities and those abroad. The IAGD hosts a variety of regular prayers and
programming for all ages and demographics, throughout the year. Our goal is to properly adapt the
teachings of the Islamic faith and provide an opportunity to all people to employ a lifestyle of purpose and
good, while working together to ensure we grow together as one unified local and.global community.

HAROUT SCOPE OF WORK

Total Contracted Cost: $222,643

Lobby Dome

Lobby Calligraphy

Prayer Hall Dome

Prayer Hall Calligraphy & Geometric
Design

Mihrab

Mihrab Side Walls

Mezzanine Arches

Main Prayer Hall Dome Calligraphy Ring
Mihrab Side Walls Calligraphy

Lobby Mezzanine Upper Level Calligraphy
Prayer Hall Exit Calligraphy

Prayer Hall Window Frames @ Mihrab
Walls

Prayer Hall Window Frames
Prayer Hall Exit Doors
Prayer Hall Exit Area Circular Omamental
Design

Minbar

Doors

ist. Floor Arches

Lobby Column Intersection
Calligraphy

Mihrab Walls

Windows

Balcony Wall Column
Upper Soffits U Shape
Lower Soffits U Shape
Walls/Sconces Background

Exhibit B at 3

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.56 Filed 12/01/23 Page 16 of 50

LIGHT vu.s.a CONTRACT

DECORATIVE ART WORKS

LIGHT USA LLC/AF INC
Haroutioun Bastajian

Date: 6/1/2022
Bill To:
Islamic Association of Greater Detroit (IAGD) Payment Terms: — Multiple See Below
879 W. Auburn
Rochester Hills, MI 48307 Due Date: Multiple See Below

BalanceDue: —= $222,643.00 __

iectan @lETetigy arUCe) PNaareleiaye
Mezzanine Arches 7 $3,000.00 $21,000.00

Blue Patina background same as Mihrab with gilded decorative patterns. Patina frames at two levels (9" x 35")

Main Prayer Hall Dome Calligraphy Ring 1 $4,000.00 $4,000.00
Surat af Nour Gilded Execution

Mihrab Side Walls Calligraphy 2 $2,000.00 $4,000.00
Extra Work added to existing design:

1: Right side Al-Fatiha & Circular Allan on Top

2: Left Side Al-Kadar & Circular Mohammed on tap"

Lobby Mezzanine Upper Level Calligraphy 65 $100.00 $6,500.00
65 Linear Feet

Prayer Halt Exit Calligraphy 260 $75.00 $1,950.00
26 Linear Feet

Prayer Hall Window Frames @ Mihrab Walls 4 $750.00 $3,000.00
7" x 285" Each w/Patina on Frames

Prayer Hall Window Frames 14 $250.00 $3,500.00
9" x 284" Each w/Patina on Frames

Prayer Hall Exit Doors 2 $250.00 $500.00
10" x 275" Each w/Patina on Frames

Prayer Hall Exit Area Circular Ornamental Design 1 $500.00 $500.00
6.3 Feet Diameter

Lobby Dome $20,000.00 $20,000.00
$5,000.00 $5,000.00
$20,000.00 $20,000.00

$15,000.00 $15,000.00

Lobby Calligraphy
Prayer Hall Dome

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Prayer Hall Calligraphy and Geometric Design

Exhibit B at 4

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.57 Filed 12/01/23 Page 17 of 50

Mihrab 1 $22,000.00 $22,000.00
Mihrab Side Walls 2 $12,000.00 $24,000.00
Minbar Submitted Design and Consulting 1 $1,500.00 $1,500.00
Doors 3 $250.00 $750.00
1: Central

2: Two Sides

1st Floor Arches 3 $175.00 $525.00
1: Left & Right Calligraphy (Vegetal Designs Upper Top)

2: Central Tribute (Bismillah Upper Top)

Lobby Column Intersection . 1 $250.00 $250.00
ALL CALLIGRAPHY CONSULTING AND EXECUTION 1 $8,668.00 $8,668.00

Verses: Hashr, Kaflroun, Qadr, Doha, Falak, Nas, Rahman, ikhlas, Fatiha, Sadaq Allah, Bismalllah, Prayer Hall Dome
Calligraphy (Nour)

Decorative Art Works, Patina, Stone & Marble Imitation and 1 $12,000.00 $12,000.00
Ornaments at the Mihrab Wall, Windows & Balcony Wail Column

Background

Upper Soffits U Shape: 2 tones of wood finish + decorative 1 $20,000.00 $20,000.00

patterns on 90 degree edges ahove wooden columns. Signature
decorative patterns on the ceiling spotlight area.

Lower Soffits U Shape Ceiling Area: 2 tones of wood finish + 1 $8,000.00 $8,000.00
decorative patterns around spotlight area
Walls: Stone and marble imitation + ornaments 1 $18,000.00 $18,000.00
Sconces Background: White marble finish with geometric patterns 1 $2,000.00 $2,000.00
Total: $222 643.00
Notes:

Looking forward for transforming the IAGD into a Divine artistic Mosque for the pride of the generations to come. This

contract includes all consulting fees and samples for design and flow of mosque. It also includes ail time and effort
advising your Board, architect and various contractors.

TERMS, CONDITIONS AND SIGNATURES ON
FOLLOWING PAGE

Exhibit B at 5

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.58 Filed 12/01/23 Page 18 of 50
Terms:

In order for our team to deliver the project as promptly and as professionally as possible, and in accordance with our
internationally-renowned 25 Year guarantee, we kindly ask you to take into consideration the following:

1. We strongly insist on coordinating with one representative from the islamic Association of Greater Detroit committee
who will be empowered to represent the decisions taken by the committee.

2. Our work will last for centuries, projects we executed two decades ago are still standing perfect with the exact colors
since their execution, thus our work is guaranteed against color or design fading for 25 years, this quarantee excludes
external leaks and architectural defects that might occur.

3. The studies, designs and colors may vary upon execution because we need to do minor changes to have consistency

in the spatial artistic finish.
4. The studies and samples are the property of Light USA, !AGD has no responsibility when refusing the studies or can
purchase the studies, the digital drawings, and samples for $5,000; this can be deducted from the final payment if the

contract to hire Light USA to execute the project is signed.

5. Our team will supply and apply moveable scaffolding to the lower calligraphy areas at the lobby and prayer hail, but
at the dome area professional scaffolding is a must; it is not included in our quote.

6. The project will be completed in 75 working days around 3 months’ period, we will try our best to execute the domes
and ceiling within the first 45 days to be able to remove the scaffold from the central area of the prayer hall to allow

access to the worshipers, but we can’t assure that the prayer hal! will be 100% functional.

7. Our working hours are 10 hours per day, 6 days per week, where we need access to work area, electricity outlets,
washrooms and a storage area.

8. Detailed studies and preparations for the project need at least one month prior launching the project.

9. We kindly ask to have 40% of the amount settled upon signing the contract, 40% upon completing the domes and the
final 20% upon total completion of the project.

10. This quote will expire by July 1st, 2022 unless otherwise agreed

fr (\;-—

Aleem Khan
GC, Islamic Association of Greater Detroit

Naree &. adligcan

Harout Bastajian
Light USA/AF Inc.

Exhibit B at 6

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.59 Filed 12/01/23 Page 19 of 50

DECORATIVE Ant ae C O NTRA C T

#125

Light USA LLC PAGE 1 of 2
Harout Bastajian -
Bill To: Date: 3/17/2023 .
19500 Forage PHASE 1 GRAND TOTAL: $21,500 |
Dearborn, Mi 48128 50% Due Now: $10,750.00
50% Due Upon Conipletion $10,750,00

rere orien: Peete

Orla iatclics Beate

L1 Calligraphy: several layers of patina background execution of 134 $50.00 $6,700.00
calligraphy and contouring (does not include custom calligraphy
copy). 134 Feet @ $50/linear foot

1.2 Hand Painted Frames: Wood Finish patina layers and 340 $7.50 $2,550.00
protective coats; 340 Linear Feet X 7.5/ft

Total: $9,250.00

Seo

v1 Window wood inner area Priming, painting and several layers af 3
light oak wood finish patina and protective coat.

23 Doors wood inner area primin 9. painting and several layers. oflight 4
oak wood finish patina and piclective ceal.

$350.00 $4,550.00

$400.00 $1,200.00

Total: $5,750.00

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3.1 Stone and marble imitation finish patina and protective layers 40

$500.00 $5,000.00
Total: $5,000.00

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£1 Stone and marble imitation finish palina and protective layers, two 2.

$766.00 $1,500.06
circular gedmetrics hand Painted ornaments

Tatal: $1,500.00

Exhibit B at 7
Case 5:23-cv-13Q99-JEL-Cl ECF No. 4, PagelD.60 Filed 12/01/23 Page20o0f50

CONTRACT

LIGHT u.s.a |

BECORATIVE ART WORKS

Light USA LLC
Harout Bastajian

. Date:
Bul To:

Islamic Center of America
19500 Ford Ad.
Dearborn, Mi 48128

Payment Terms:

Due Date:

PO Number:

Balance Due:

# 126

5/17/2023

$25,000 Deposit
Homainiag Upon Completion
126

$54,026.00

Initial Deposit Due Now: $25,000
Remaining Due at Completion: $25,026

Caen co

5.1: Podium background wall decorative ornaments hand painted, 261

patina and protective layer including central ICA logo

§.2: Arched columns decorative ornaments, wood, stone and 2 $1
marble finish hand painted, patina and protective layers

5.3: Upper soffit Decorative vegetal ornaments on patina 108

background

5.5: Calligraphy sides of podium, Right (7.5 LF) Left (7.5 LF) 15

5.6: Calligraphy facing podium wall above 2 entrances 39

5.7: Frame for calligraphy wood or stone imitation 125

Ca STI INS eu NEES | aay en ox , es a

6'7.1: Podium background wall decorative ornaments hand painted, {06

900.00

$50.00

$50.00
$50.00
$5.00

Total:

eta :
$9,135.00
$3,000.00
$5,400.00

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$1,950.00
$625.00

$20,860.00

a

$35.00 $3,500.00
paiina and protective layer including central ICA loge
&/7.2: Arched columns decorative ornaments, wood, stone and Z $4 800.00 $2,000.00
marble finish hand painted, patina and protective layers
6/7.3: Upper sottit Decorative vegetal ornaments on patina 142 $56.00 $7 400.00
background
6/7.4: Calligraphy sides of podium, Aight (23.4 LF) Left (8.6LF) 42 $50.00 $2,700.00
8/7.7: Frame for calligraphy wood or stone imitation oO $5.00 $450.00
Total $16,150.00
TotalX2: $32,300.00
+CALLIGRAPHY: $866.00
- Balance Due: $54,026.00:

Exhibit Bat &

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.61 Filed 12/01/23 Page 21 of 50

TERMS & CONDITIONS

Dear Board Member,

In. order for our team to deliver the project as promptly and as professionally as possible, and in
accordance with our internationally-renowned 25 Year guarantee, we kindly ask you to take into
consideration the following:

1. We strongly insist on coordinating with only one representative from the {slamic Center of America

committee who will be empowered to represent the decisions taken by the committee. Please identify
this main point of contact below.

2. Our work will last for centuries, projects we executed two decades ago are still standing perfect with
the exact colors since their execution, thus our work is guaranteed against color or dasign fading for 25
years, this guarantee excludes external leaks and architectural defects that might occur.

3. The studies, designs and colors may vary upon execution because we need to do minor changes to
have consistency in the spatial artistic finish.

4. All studies and samples are the property of Light USA. If desired, they can be purchased for an agreed
ammount to be determined at a later point in time.

5. Our team wiil supply and apply moveable scaffolding

6. Our working hours are 8 hours per day, 6 days per week, where we need access to work area,
electricity outlets, washrooms and a storage area.

7. Detailed studies and preparations for the project need at least one month prior launching the project.

8. We kindly ask to have $25,000 settled upon signing the contract and the remaining $29,026 due
within 7 days after completion of the job

Best Regards,
Harout Bastajian

5/17/2023

The undersigned agree to all terms.and conditions set forth in this contract:

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Name: LELED AA SSCA Board Member, Islamic Center of America , ¢ HAZ Z MAY

Main Point of Contact: £: A) CSA
Phone: $ 13 b/2 CYOQ _. _ Email: LINO EGO 8 Coo (gh,

Exhibit Bat 3

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.62 Filed 12/01/23 Page 22 of 50

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Mobile. +961 76 73 0072
email dollylahed6l@email. cori

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[Introduction music plays}
[Clapping]
Graphics: Rania Barghout

Rania Barghout: It is interesting to seca non-Muslim artist that likes the design of Islamic mosques, This
is thé case of the:Lebanese Interior Architect Harout Bastajian, who is considered. an
expert in the interior design and drawing, one of the best in the Middle East, the United
States; and Africa. What-attracted him to that art form, and what has it given him in his
life? Let us find out.

[Report begins}.

‘VO: He took to the artistic expression.of colors and shapes since he-was young, which
ted him to become a standout artist, grabbing the attention atid appreciation of
many. thanks to‘his work: inthe inferior decoration of many mosques across the
Middle East, the. United States, and Africa.

Harout VO: _‘I studied.interior decoration,-with emphasis on mosque studies; The first mosque I
worked on is the.Baha' Al Din Al Hariri mosque in Saida,.and since then, my main’
attention has become:miosques, and till now I've done 35 domes and hialf-domes in many
mosques-across the world and in.Lebanon.

Graphics: Harout Bastajian —Interior Architect and Mosque Designer

Harout VO: After I have done the first mosque, I found .a:large appreciation to the Islamic Art, in the
details-‘of:the art itself; the calligraphy, everything related to the Islamic Art and its
mosqties, and continued down that lane to find great success. -

VO: His. beginnings were through coiudidence when he designed his first mosque. The
project stood out.and found great success in-its architectural style and historical artistic.
choices, creating a beautiful, incamate design, which.was followed by multiple other

Projects, the latest of which was the design of the Rifai Mosque in South Lebanon,

oo Harout VO: In this mosque here, the Imam-Al Rifai Mosque in Tyr, we worked with the Holy: Quran
- 5) = Verses and included them in the Domes and Mezzanine designs, we also worked on -
=. wall aging. illusion techniques, as well as Islamic-specific decorations, and the.use of.
= © -pold paper, including all the details you can see and-on which the people behind me are
os working,

ae: What then made him keep working on Islamic Art and Mosques?

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Exhibit B at 10

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Sworn Translators Traductrice Assermentée

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email dollviahediilimemall, com
Lebanon, teserwar

pSlsall (sal dalac das sus Achieaut St. Jhon St rest

Rania Barghout: Mr, Harout, welcome to our program. | will start with the question we heard in the

Graphics:

Harout:

Eltham Wajdi:

Harout?

feport, what attracted you to the Islamic Mosques Arts and design?

Harout Bastajian — Interior Architect and Mosque Designer

I first had no idea about the Islamic Art, except for courses‘ took at the university. I
used to'see these lines, these details in the calligraphy and Arabic.fonits, these beautiful
lines, and used to see the as drawings more than words. And then over time, and

_ through projects I worked on, I started to find myself being drawn'to them, and started

seeing how: deep of meanings they hold, and how much a person themself can evolve
and improve in the Islamic. Art industry, and eVen improve the art form itself over time
and towards the. futuré.

tam ‘with you 100%, I don't see at all a religion to arts, I find that art’ is art. Your
background i isn't Muslim, your personal. culture doesn’t contain the same words or
language, do you do any research, do you search certain sources, to understand what!
you're drawing, or even do you investigate the culture of the thing you're working on
itself before designing and drawing the mosque?

Nothing comes by luck. Every detail needs:studying, I need to investigate the history of
the art form, keeping in mind what's asked of me, I need to do.my research, and evolve
what:.I find. "Art i is not.a stable thing; italways changes and evolves, We take the ideas
that our elders worked on, and we improve on them further; and in the future, that

evolution will remain and change the art form even mote, And in that way, we are
“Working and giving, new ideas, to reach 4 better art form, that we can currently see. and
oo appreciate, and which the viewers, and for me, the worshipers that'are going to their

“, MOSques are convinced vith the words they ate seeing, and feel at home, in the house of
-Allah.

Mona Abou Sleiman: I would like to thank you first for being: here with us, I would also like to thank you

for the passion you put into yous work in ral your mosques. It truly is a beautiful art-

- form.

THE REST OF THE CLIP DOES NOT RELATE TO MR, four

True and aecirute translation of the attached te text written in Arabic. Translator is offi cially accredited Id translate by he
Ministry of Justice, decree no, 1483; an duly d®, 2017) .

_ Translated on April:27%, 2023 LL a

Exhibit B at 11

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Interview Transcript
Interview on October 18", 2015, at MBC Studios, for the TV show “el » 4S" (Talk-of the
Towa]. Interview.first broadcasted on the shaw-on the ame day, then uploaded anling

on MBC’s official website (hitps://www.mbe.net/channels/mbel )befora it was archived,
currently found.on https://www.facebook,com/watch/?v=569005964 192591 8cefesharing

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Exhibit B at 12

ECF No. 4, PagelD.64 Filed 12/01/23 Page 24 of 50

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Exhibit B at 13

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We Juae 58 sil selon JS ttle tins J laa sgl te La

6 mins 22 secs ve aggle ase dl AdLe I olill SL

I certify that lam fluent in Arabic and the above is an Arabic language transcript of

Talk of the Town. MBC. ‘which can be found online at

https://www.facebook.com/ watch/ 2v=569005964182591 &ref=sharing

Name: [edly heel

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Signature:

Exhibit B at 14

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U certify that this is full, complete and accurate English language transtation of the aceotipanvirus Arai
language document and that | ami competent to translate from Arabic inte English.

Name: Qe dky fue wood
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Exhibit B at 15

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Bi

11/4/21, 3:34 PM MBC TV - Middle East Broadcasting - Arabic Television - ADVERTISE ON ARABIC MEDIA FOR THE BEST ARABIC MARKET O...

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Search...

HISTORY OF MBC TV

AUDIENCE DEMOGRAPHICS

: MBG & GLOBAL BRANDS

AUDIENCE NUMBERS

POPULAR PROGRAMS

SATELLITE GOVERAGE

| MBC 2

MBC 3

| MBC ACTION

MBC 4

» MBC DRAMA

| MBC MAX

DIGITAL ADVERTISING

| ADVERTISING MARKETING
| CONTACT

MBC COMMERGIAL PCLICY

; PORTFOLIO _

| CLIENTS

TALK

: MOVIES

: SPORTS

' FOOD

CLIENTS | CONTACT US |

A Ten Year Pioneer, MBC is the leading free-to-air, pan-Arab, news and entertainment channel.
MBC's guiding philosophy has always been to lead and innovate. Satellite transmission first started
from London in September 1991, making MBC the first-ever, independent Arabic satellite TV station
and a market leader, delivering news and quality, family entertainment programming to more
than 130 million Arabic speaking people around the world. MBC has recently moved its
headquarters to Dubai Media City, enabling the whole production process to be closer to its Arab
viewers. The centre has been described as one of the new wonders of the satellite transmission
world.

MBC is constantly building on its core strengths to add new dimensions in an ever changing and
competitive world of broadcast in the Middle East. All this has led to MBC becoming the most
effective pan-Arab medium to link advertisers with Arab-American consumers.

MBC has successfully launched two brand new free-to-air channels, offering 24-hour news and
entertainment to the Arab world. '2' is an entertainment movie channel, and Al Arabiya, a 24hour
News Channel. Established in 1991, MBC TV has pioneered the media revolution in the Middle East.
MBC TV is an accurate representation of the Arabic culture in all its forms and shapes with the
objective to fulfill people’s interests and desires by offering them high quality and exclusive
programs. ,

MBC is committed to delivering the best in TV entertainment. This has repeatedly and consistently
reinforced the company’s commitment to producing programs that are by far the most diverse,
interesting and unique in the region. The station’s sustainable success in the Middle East is also
evidence of their competitive advantage. MBC News retains its position as the Middle East’s most
credible and trusted source of news. It is regarded as number one provider of Gulf, national and
sports news. MBC is equally renowned for its wide range of quality Arabic and Western films/series.
Furthermore, MBC’s acquisition of global brands, such as the Warner Brothers movies, emphasizes
MBC's greater advantage over the pay per view and other subscription based operators in the
region.

¢ MBC is dedicated to bringing its audiences the latest and most informative news from
around the world the moment it happens. Stimulating current affairs programs also discuss
and debate in-depth hot issues drawn from current events.

e¢ MBC constantly brings to its children viewers new and exciting global brands, including the
wide range of Disney cartoons.

¢ MBC’s professional and quality coverage approach of worldwide sports events, such as the
World Cup and the Olympics, highlights its commitment to sports. MBC's main focus
however remains on the major sports tournaments and competitions throughout the
Middle East and the Gulf regions.

¢« MBC continues its success in delivering original and innovative Arabic language television
programs. From gripping controversial dramas such as “Al Hur Al Ein", to entertaining
comedies such as "Tash Ma Tash."

MBC’s Arabic viewers have one thing in common, they represent the different and diverse aspects

www.allied-media.com/mbec/ana_tv_and_middle_east_broadcast.htm 1/2

Exhibit B at 16

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.69 Filed 12/01/23 Page 29 of 50

11/4/21, 3:34 PM

and values of the Arabic family, wherever it is in the world. Consequently, MBC has preserved and
strengthened the well-established bond between the programs, audiences and advertisers.

Through Allied Media, MBC TV is tapping you into an important market: The affluent Arab and
Arab-American consumer living in the United States and worldwide. To reach this expanding
market, MBC TV's Institutional Services Group is working to deliver MBC TV programming to:

« Hotels and Resorts worldwide: Both groups find that the availability of MBC TV 's news and
its programming serves as an important sales tool in marketing their services to travelers
from the Arab world.

¢ Hospitals: MBC Tv's Arabic-language cartoons and films, as well as its news programs, offer
a comforting sense of home to individuals who may have come from the Arab World seeking
medical treatment.

¢ Universities: MBC is an important asset to Middle East related studies, international politics
programs, and to international students.

¢« Government: Government officials and political scientists have already recognized that they
can depend on MBC TV for the latest unbiased news from the Arab World.

Benefits of advertising on MBC include:

Specific targeting of various Arabic audiences in the Middle East, particularly in Saudi Arabia
guarantees a well identified target audience.
MBC has an extensive media coverage and reach.

Successful association of brands with high quality programs and news.
Competitive advertising and marketing packages through Allied Media.
MBC’s structured ad breaks provide more efficiency for the advertiser.
Simply, it re-affirms MBC’s position as the leading Pan Arab station.

MBC TV ADVERTISING AND MARKETING }

For MBC TV Advertising Rate Card and Marketing Kit
Tel: +1 703 333 2008

email: mbc@allied-media.com

HOME | ABOUT US |_SERVICES| CONTACT US

Allied Media Corp,
MeLean, VA 22104

MBCTV@allied-media.com

MBC TV - Middle East Broadcasting - Arabic Television - ADVERTISE ON ARABIC MEDIA FOR THE BEST ARABIC MARKET O...

www.allied-media.com/mbc/ana_tv_and_middle_east_broadcast.htm

Exhibit B at 17

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.70 Filed 12/01/23 Page 30 of 50

Arab American National Museum

13624 Michigan Ave., Dearborn, Michigan 48126 | 313.429.2535 | www.arabamericanmuseum.org

April 18, 2023

To Whom it May Concern,

As previously stated, | am the Director of the Arab American National Museum (AANM), which
is the only institution in the United States that documents, preserves and presents the history,
culture, and contributions of Arab Americans. Located in Dearborn, Michigan, amid the largest
concentration of Arab Americans in the nation, AANM currently displays a piece of artwork
created and donated by Mr. Bastajian in the main courtyard of our museum. It is a masterful
example of Arabesque design, an intricate and complex decorative element found throughout

the Arab world, and it is prominently positioned immediately over and behind a display on art
in Arab history.

Based upon my experience as a museum director | affirm that Mr. Bastajian’s art is displayed in
a manner consistent with, and for the purpose of, artistic exhibitions. | enclose with this letter
photographs of the display of his artwork together with its immediate context.

Sincerely,

Diana Abouali, PhD

Director

AANMIS AN INSTITUITION OF ACCESS.

Exhibit B at 18

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Islamic
Center of
a Van yp America

19500 Ford Road | Dearborn, Ml 48128 | (313) 593-0000

Dear US Citizenship and Immigration Services,

Re: Haroutioun Bastajian , a

Harout Bastajian played an unequivocally critical role in the design, execution and opening of
the Islamic Center of America in Dearborn, MI. At the onset, as a Board, we were struggling to
find an individual or a company both domestic and abroad with the experience and talent
necessary to aid usin our pursuit of building the largest mosque in North America.

The uniqueness of what we were attempting to accomplish was continuously met with
rejection from domestic artists and designers. It was apparent that no one we met with could
do what we needed. It was a requirement for us to hire someone with specific experience with
large-scale mosques, Enter our esteemed solution, Harout Bastajian.

Through our extensive global network, we were introduced to Harout Bastajian. In 2006, A few
Board members flew to Beirut, Lebanon to meet with Harout as they endeavored to persuade
him to accept our role in leading the execution of all interior artwork. The team came to the
unanimous conclusion that Harout Bastajian is the leading mosque decorator in the world.
Although in extreme demand, we were able to convince him to travel to the United States in
2008 and prioritize work on our project.

Harout’s responsibilities were abundant, yet specific. He led the execution of all artwork,
calligraphy and patina in the hallways, prayer rooms, banquet halls, interior doors, walls, soffits,
domes, mezzanine, etc., His leadership included teams of skilled artists, painters, calligraphers
and volunteers. Upon completion of this work, we, the Board of Directors at the Islamic Center
of America, presented to Harout a distinguished honor for which he shared with only the
leading 4 or 5 individuals who were responsible with the completion of our historic mosque. His
plaque hangs in our hall of honor.

Thank You, to.
Lua) bb In tae
Ron Amen

farmer Chairman, Executive Board -
islamic Center of America

Exhibit B at 23

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.76 Filed 12/01/23 Page 36 of 50

STUDENT LIFE

MULTI-ETHNIC STUDENT AFFAIRS

UNIVERSITY OF MICHIGAN

To Whom it May Concem,

My name is Dr. Nadia Bazzy and | serve as the Director of Multi-Ethnic Student Affairs at the
University of Michigan. Our office coordinates Heritage Month programming throughout the year
for the institution bringing together faculty, staff, and students. This year’s theme for Arab
Heritage Month was Our Origins. We were honored to bring Harout Bastajian to our campus on
Tuesday April 4, 2023 as part of our month of programming.

Our campus community was excited to have an art workshop by a world renowned decorative
artist like Mr. Bastajian. The ability to bring in one of the world’s most talented artists in his field
of mosque decoration, or arguably the most talented here in the US and abroad was a unique
moment on our campus. The students were able to have hands-on artistic experience with no
prior skills needed and engaged in learning techniques such as gilding, patina,
wood/marble/stone imitation, washes, technical painting, design prep and more from an artist -
who is at the top of his field globally and our first exposure here in the US to such artistic talent.
They were also able to learn about Mr. Bastajin work in the US, Europe, Middle East and Africa.

This event was a particular point of pride for our office as it reflected a continued relationship
and partnership with Mr. Bastajian. He was the artist who created the mural in the Edward Said
lounge which is housed in our North Quad dorm at the University of Michigan. To bring Mr.
Bastajian back after students have had the chance to have their programs, meetings, and social
events in the lounge was a true gift for our community. While at the Arab Unity Ball which was
put on by our Arab Student Association and supported 17 other organizations, the students .
referenced how having the Edward Said lounge was essential to their programming and sense
of belonging on campus. That reflection paired alongside a co-curricular activity like the art
workshop helps to create meaningful relationships and events on campus for students to
explore identity and art in a contemporary context. I'm happy to discuss further and look forward
to a continued partnership with Mr. Bastajian.

Dr. Nadia M. Bazzy
Director

Multi-Ethnic Student Affairs
University of Michigan

Exhibit B at 24

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.77 Filed 12/01/23 Page 37 of 50

am VILLAGE
LIGHT vu.s.a AGA PRIVATE
DECORATIVE ART WORK VPE EQUITY

Dear USCIS,

Please receive this letter as reference and evidence of the incredible impact that Harout Bastajian has made on the
Detroit community and abroad. As a managing member of Light USA and AF Inc, | have had the distinct privilege in
working with Harout daily since his arrival in the US. Aside from his unparalleled ability to design and execute mosque
art; his outstanding character, work ethic and family values are really what set him apart.

Through my experience in business both at the Fortune 10 level as well as an entrepreneur - it is rare to come across
someone with such a remarkable ability that is so evidently needed. Plain and simple, Harout is the best mosque
decorator currently residing in the United States of America. We were on a search for such a talent for a long time, but
continuously came up short. There is a large demand and need by churches, mosques, synagogues, temples, etc.. in
America for an artist with the experience, aptitude and creativity that would satisfy their needs. We came to realize this
unmet demand, and as a result, located Harout Bastajian.

Now that Harout is in the US, he is being approached by many religious, commercial and academic institutions to
execute custom artwork in their places of worship, businesses, universities and even personal residences. Since 2021,
Harout has been a critical leader of our organization in our efforts to satisfy the communities we serve amongst others.
He is the leading designer, artist, relationship manager and sourcing expert for Light USA and AF Inc. Without Harout’s
expertise and capability, Light USA and AF Inc would not exist as it does today. The organization can only be successful if
Harout is leading our team. Moreover, every time Harout is engaged in a new project for a client — he is hired to lead the
entire team from design to execution.

As of May 2023, Harout has prearranged commitments to work on projects in the United States for the next 36 months
and beyond. We have signed contracts and enthusiastic clients who have their entire communities fundraising to ensure
they are able and ready for Harout to begin working on their respective institutions. To deny them this commitment
would not only disrupt their ability to complete their project — but also our ability to be successful as an organization.

in conclusion, it is my honor to recommend that Harout and his family be approved with EB-1 status and allowed to stay
in the United States to carry out his dream and continue to serve the US market for whom have explicitly showcased
their immediate need for Harout’s unique and extraordinary ability to decorate a broad spectrum of establishments.

Thank you,
Michael

Wuchacl Wlapfe

Michael Makki
Managing Director, Village Private Equity
Managing Member, Light USA and AF Inc
PO Box 715 Dearborn Heights, MI 48127
313.574.9936 | michael@villagepe.com
www. villagepe.com

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Exhibit B at 25

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June 1st; 2023

To Whom It May Concern:

As chairman of the Board of Directors of The Islamic Center of America in 2006, | led our board in its search for local
and national artists to help with the decorative Islamic Arts designs.and calligraphy of our newly built mosque in
Dearborn, Michigan. The ICA had the distinction of being the largest mosque in North America. We found it
impossible to find anyone locally or nationwide. who. can lead this project.

| was visiting Beirut, Lebanon that summer, where | learned about the landmark Al-Amine Mosque that was recently
completed in downtown Beirut. That mosque would become to be.known as the Blue Mosque of the Middle East. It
boasted a 12-story high dome and lavish religious decorations. | made it my mission to meet with the mosque
planners and specifically asked about the remarkable artist who designed: and structured the Islamic Artwork of its
impressive. domes.

To my surprise, | was informed that a young Non-Muslim Artist; Mr. Harout Bastajian’ was the person in charge of
decorating the huge domes and executing different art works. and. calligraphy. throughout that mosque. | was very
impressed with his unique knowledge and experience in: that intricate and. sophisticated art field.

As for the Islamic: Center of America, Harout was our natural. choice to spearhead our project herein the United

States. | was humbled by the board's decision to accept our. recommendation and assign Harout the formidable task

of designing and executing all the Islamic Arts work throughout our mosque’s interior. includi ng its, huge dome. | was
blessed fo be able to cover most of the expenses required fo complete that project. ee

’ We are lucky to have Harout:once again, here. with. us in Dearborn, as: He continues to share his unique talent at the” - .

ICA and other places of worship; similar to what he did | in 2008. He’ i's. cue involved. in a. a overhaul and.

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Subject: Recommendation for Haroutioun Bastajian

To Whom It May Concern,

I am writing to provide an official recommendation for Mr. Haroutioun Bastajian to
support his immigration application. I am familiar with Mr. Bastajian's exceptional
skills and the valuable contributions he can make to the field of art and design
through his association with Zaman International.

Zaman International is a highly reputable non-profit organization that is committed
to facilitating change and advancing the lives of marginalized women and children, by
enabling them to meet essential needs common to all humankind. They have played a
pivotal role in the fight to end multigenerational poverty. Mr. Bastajian commitment
to Zaman International allows them to continue increase their efforts to reach their
noble goal.

Mr. Bastajian's work as an artist holds significant importance in the realm of art and
design. His artistic techniques and expertise in designing mosque domes and church
domes have garnered worldwide recognition. His innovative and captivating designs
have contributed to the cultural enrichment of numerous communities globally. Mr.
Bastajian's ability to create iconic structures demonstrates his exceptional artistic
talent, which has the potential to further enhance the art landscape in the United
States.

Mr. Bastajian will undoubtedly make significant contributions to Zaman
International and the broader community. His presence and mentorship to Zaman’s
clients will allow them to use art to empower themselves and support their families.
Furthermote, his unique artistry and technical expertise will greatly benefit those
who seek to learn, create, and market their products under Zaman International's
guidance. .

I have had the privilege of witnessing Mr. Bastajian's commitment to his craft and his
dedication to sharing his skills with others. His willingness to mentor aspiring artists,
coupled with his passion for fostering cultural understanding through art, sets him
apart as an exceptional individual. I am confident that Mr. Bastajian's talent,
combined with his desire to serve and uplift others, will make him an invaluable asset
to both Zaman International and the United States.

In conclusion, I wholeheartedly recommend the immigration application for Mr.
Haroutioun Bastajian. His unique artistic abilities, particularly in the design of
mosque and church domes, highlight his extraordinary talent and potential to
contribute to the cultural fabric of our nation. Granting him the opportunity to work

* . 2 J (313) 551-3994: 26091 Trowbridge St, Inkster, Ml 48141
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Exhibit B at 27

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with Zaman International will undoubtedly result in numerous artistic achievements,
benefiting not only the organization but also the American community at large.

Should you require any additional information or have any further questions, please
do not hesitate to contact me at your convenience. Thank you for your time and
consideration.

Sincerely,

Najah Bazzy

Founder & CEO

Zaman International - Hope for Humanity
Michiganian of the Year 2020

Crain’s Top 100 Most Influential Women 2021
Michigan Women’s Hall of Fame 2020

CNN Hero 2019

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Exhibit B at 28

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THE ANTIOCHIAN ORTHODOX
‘BASILICA OF ST, MARY June 2, 2023

To Whom It May Concern,.

!am the V. Rev. Fr. George Shalhoub. I’ve been the head priest of St. Mary Antiochian
Orthodox Church in Livonia, Michigan since its inception in-1972. Thanks to generosity of the
faithful, we grew from a one room church to one of the largest Antiochian Orthodox churches in
North America, Currently, our Basilica of St. Mary continues to be a.place of religious harmony
and spiritual guidance to thousands of parishioners.

| personally oversaw this tiered expansion first in 1977 and then in 1991 when botha
convention center and a liturgy covenant became permanent featiires of our. church. | continue
to be inspired by the faithful-and the glory of God’s:Creations. The continued expansions of our
church dictated specialized Byzantine depictions of our Saints and religious icons.

Nine months ago, we were experiencing.a real challenge in finishing the final phase of
adding religious calligraphy in. both Arabic'and Roman lettering in‘our Basilica: We couldn’t find
a skillful artist to combine both languages and produce. a:‘seam-less final product. Fate would
then send our way.a brilliant artist from:Lebanon who'has a stellat reputation both in church
and. mosque decorations and.arts designs. Our beloved son, Mr. Harout Bastajian offered his
services and gave us the'exact calligraphy and designs needed for our project. To that end, St
Mary’s Church js eternally grateful for his amazing and unique talents.

_ tanvan immigrant myself. | believe in the sanctity of the human-spirit and the talents of
new immigrants.and their immense contributions in shaping our nation’s future, Mr. Bastajian
no doubt afforded the opportunity, will become.an outstanding citizen and a shepherd of
goodwill.

Therefore, | unequivocally support his petition to become a future United States citizen.
This world needs more good people like Harout. He has my ultimate respect. | pray for a positive
outcome to.his INS petition. May God guide this process. May God bless Harout and his family.

Vander the Jurisdiction of the Antiochian Orthadox Church of Ameri
1S100. Merriman Road. Livonia. Michigan ARES? (7347. 422-0010
Father Gearge H. Shathoub, Pastor
Envail: theBasili¢a@ TBOSM. com
Website: www.saintmarylivonia. con

Exhibit B at 29

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960 Morse Road
Columbus, OH 43229

Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.82 Filed 12/01/23 Page 42 of 50

Office 614.848.9999
Fax 614.844.4429
TwinsBuickGMC.com

Dear USCIS case officer of Haroution Bastajian

My name is Ty Safaryan (Owner of Twins Buick GMC.)
Office 614,848.9999

Fax 614.844.4429 TwinsBuickGMC.com

I'm at the final. stages of building my dream home in Columbus,Ohio. | have worked for years on the
architecture and landscaping designs of this project which includes numerous statues of historical
figures and details of art that portrays my Armenian Heritage.

One of the challenges I've encountered during this process was to find a specialized muralist to
reproduce a painting of the world renowned artist Ivan Aivazovsky; this specific painting. “The Decent of
Noah” had mystic mountains inthe clouds and flowing waters with the reflection of the sky-and light. ft
was impossible to find an-artist to overtake this project with intricate and complicated color schemes.

| was lucky to meet Mr. Harout Bastajian at a special event, the reveal of the “Tree of Life” mural
praduced by Harout at the Jewish Comminity Center in Canton, Ohio, | was so impressed by both his
skills, remarkable art work and his outstanding abilities to portray the flow of different colors and
layers.

The great painter Aivazovsky once said:” No one can paint or reproduce an Aivazovsky like
Aivazovsky.” | presented this challenge to Harout knowing full well he could handle this project,

it took him two days to complete this 165 square foot mural with its exact details. | was mesmerized by
his. abilities to visualize and paint differentlayers of colors and bring out this masterpiece. Needless- to-
say, my family and | were-very pleased and excited to have commissioned the one and only artist who
was able to deliver a very. complicated, yet remarkable art piece.

Asa proud immigrant myself who has worked hard and lives the American dream, | believe that Harout
with his unique style and knowledge in the arts is a true-asset tothe United States of America, He is a
renowned international artist and has no limitation ta become a successful and contributing member of
our great society. if you have any questions, you may reach me at the office at 614-848-9999 ext 3000 or
my personal cell, 614-989-5287.

Yours Truly

T V-Se
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Ty Se

Qwner of Twins Stick GMC

Exhibit B at 30

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.83 Filed 12/01/23 Page 43 of 50

UPLIFTING OHIO, SAVING THE

8/8/2022
To Whom It May Concern,

It is my pleasure to write this letter of recommendation for Harout Bastajian’s
application for extended citizenship in the United States of America. Harout
is‘a-spectacular contribution to society with extraordinary artistic talents.

Kitchen of Life is a non-profit organization out of the Columbus, OH area
aimed at using food to teach students resiliency and how to overcome
adversities. Kitchen of Life participants are a part of "a program that offers a
creative and welcoming space where teenagers from all backgrounds can
gain new skills in culinary arts while being granted access to the life-
enhancing tenets. of social emotional learning and connectedness.” Simply
put, we are combatting mental health issues with cooking!

Our team had the distinct pleasure of being luckily introduced to Harout so
that we could hire him to travel from Detroit to Columbus to implement some
of the critical artistic pieces necessary for our grand opening on August 2",
2022. Aside from his unparalleled execution, our time with Harout was
wonderful to say the last. Harout is a stand-up gentleman who embodies the
tenets of what being an American is all about. Compassion, humility, work
ethic and kindness are some adjectives | would use to describe my
interactions with Harout Bastajian. | have introduced him to a few other
community members that would like to hire him to work and | will definitely
be reaching out.to him soon again. |! am simply unable to find someone to do
what Harout can do.

if you have any questions or require any additional information, ~ do
not hesitate to contact me @ (614) 570-0019 or via email
at areyahk613@amail.com

Thank you, phew
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Rabbi Areyah K
Chabad Columbus
Executive Director, LifeTown and Kitchen of Life

Unlocking a World of Opportunity
LifeTown Lessons for Life

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4/20/23, 9:46 AM Islamic Center of America receives artist's gift, helped during hard times
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Exhibit B at 3
Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.85 Filed 12/01/23 Page 45 of 50

4/20/23, 9:46 AM Islamic Center of America receives artist's gift, helped during hard times

“t have 42 domes and half domes | have executed,” said artist Harout Bastajian, including the dome in the largest mosque on
the North American continent— Dearborn’s Islamic Center of America.

Posied at 6:00 PM, Apr 13, 2023 and last updated 11:38 PM, Apr 13, 2023

DEARBORN, Mich. (WXYZ) — “I have 42 domes and half domes I have
executed,” said artist Harout Bastajian, including the dome in the largest
mosque on the North American continent— Dearborn’s Islamic Center of
America.

Harout Bastajian is the decorative artist behind this masterpiece— he’s
Armenian from Lebanon — is a specialist in Islamic art and happens to be
Christian.

WXYZ’s Ameera David asked, “They call you the ‘Michaelangelo of Mosques’.
How do you feel about that?”

“Michaelangelo, he’s of another level,” Bastajian responded as he laughed.

Recent Stories from wxyz.com

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Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.86 Filed 12/01/23 Page 46 of 50

4/20/23, 9:46 AM Islamic Center of America receives artist's gift, helped during hard times
Equally modest as he is talented the institution’s founding members reached a
out to Bastajian still in debt from the mosque’s construction — as the US

economy was plummeting.

“A lot of home foreclosures, businesses closing down, money a little bit tight,”
said Adnan Chirri, Board of Trustee member of the Islamic Center of America.

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Bringing the dome to life would cost about $200,000 in total.

“My wife Wanda said, ‘We don’t have the money right now - when we have the
money, we will contact you,” said Allie Fayz, Founding member of the Islamic
Center of America.

Never did Allie Fayz imagine Harout would instead contact them- and offer to
do the months-long project for free.

“You know we have to thank God for every breath we take,” said Bastajian.

For Bastajian a way to give back- as thanks for life’s blessings.

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Exhibit B at 34
Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.87 Filed 12/01/23 Page 47 of 50

4/20/23, 9:46 AM Islamic Center of America receives artist's gift, helped during hard times

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“It meant a lot to us,” said Fayz.

For this Muslim community, the act of kindness from a Christian artist—
overwhelming.

“I mean you really can’t have a better gift from God,” said Chirri.

Harout would return to Lebanon — but twelve years later, in a twist of fate, he
would fall on his own hard times.

“The financial system collapsed. And like, all our money is gone,” said
Bastajian.

Lebanon was in political & economic turmoil, but Fayz, who now treats Harout
like a son, couldn’t believe what he heard.

“He said, Allie, I cannot tell you how I feel because I cannot put my kids in
school,” said Fayz.

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Exhibit B at 3
Case 5:23-cv-13009-JEL-Cl ECF No. 4, PagelD.88 Filed 12/01/23 Page 48 of 50

4/20/23, 9:46 AM Islamic Center of America receives artist's gift, helped during hard times

That’s when mosque members sprang into action helping to give the father of

6 - the chance to rebuild.... In the same mosque built in part on his generosity.
“This is really intricate,” said David.
“Yeah, this will be inside the banquet hall soon,” said Bastajian.

Today, Bastajian rebuilding with paid work - creating memories with a family
immensely grateful for a second chapter.
“What has that meant for you?” asked David.

“It means a lot,” said Bastajian. “I can’t describe it.”

Art.can describe what words can’t. Deep between the curves of this

calligraphy...is a full-circle tale, a reminder that today’s kindness can create
tomorrow’s gratitude.

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Exhibit B at 36

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19500 Ford Road _
Dearborn, Mr 48128
(343) so3e -0000

04/14/2023.
Re: Mr Harout Bastagian

“Director,

‘United States Citizenship and Immigration Services

Dear Phas

institutions: it is recognized throughout Michigan and ‘Guistde the State of Michigan asa
religious landmark due to its unique architecture and its marvelous calligraphy. its Board oF

Trustees insisted on a unique, American architecture ‘different from Middle Eastern, Persian,
Turkish or North African mosques.

Over the years, Washington has recognized the Islamic Center of America for its religious,
educational and: public programs and as.a place of moderate patriotic views and positive

influence on our society here and abroad, Communications and relationship with the ICA, began :

with President Jimmy Carter's Administration during the hostage crisis and continued with most
White House Administrations thereafter every time issues and crises erupt in the Middle Fast.

The ICA. hosted US Senators, US Presidents’ advisors and envoys ‘as well'as delegations from the

‘German Federal. Parliament.

In the past and for a decade, the US. State Department and National Defense University brought
yearly over 70 officers delegates from all over the world to the Islamic Center of America to

marvel at the unique architecture and calligraphy and to léarn, dialogue and get their questions
answered. In addition ie ICA hosts weekly delegates from schools, universities, and Interfaith

Farid Nasser, iD.
Chairman, Board of Trustees:
The islamic Center of America

Exhibit B at 38

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